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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 22-MJ-08332

  IN RE: SEALED SEARCH WARRANT

  ___________________________________/

                         ORDER OVERRULING OBJECTION TO
                     MAGISTRATE JUDGE ORDER ON INTERVENTION

         This matter is before the Court on the pro se Movant’s Letter Memorandum filed on

  August 18, 2022, which the Court construes as an objection to Magistrate Judge Bruce E.

  Reinhart’s paperless order at docket entry 64. That paperless order reads as follows:

     PAPERLESS ORDER denying pro se motion DE 62 to intervene and unseal
     documents. The interests asserted by the movant are adequately represented by the
     media-intervenors. See In re Horizon Organic Milk Plus DHA Omega-3 Mktg. & Sales
     Prac. Litig., No. 12-MD-02324, 2014 WL 12496734, at *2 (S.D. Fla. July 10, 2014)
     (citing Fed. R. Civ. P. 24) (collecting cases). Signed by Magistrate Judge Bruce E.
     Reinhart on 8/17/2022. (hk02) (Entered: 08/17/2022)

         The Court construes the Movant’s objection as arguing that the Movant’s request to

  intervene in this matter should have been granted. Intervention is governed by Rule 24 of the

  Federal Rules of Civil Procedure. Pursuant to that Rule, a district court may permit an intervenor

  to intervene when the intervenor shares a claim or defense with the main action. This Court “will

  presume that a proposed intervenor’s interest is adequately represented when an existing party

  pursues the same ultimate objective as the party seeking intervention.” Fed. Sav. & Loan Ins.

  Corp. v. Falls Chase Special Taxing Dist., 983 F.2d 211, 215 (11th Cir. 1993). Adequate

  representation exists when “no collusion is shown between the representative and an opposing

  party, if the representative does not have or represent an interest adverse to the proposed

  intervenor, and if the representative does not fail in fulfillment of his duty.” Id. (quotation marks

  omitted).
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          Here, under both an abuse of discretion and de novo standard of review, the Court

  concludes that Judge Reinhart’s decision was correct. This Court has considered the issues

  presented at the hearing on this matter before Judge Reinhart on August 18, 2022. Based upon that

  review, the Court concludes that the parties who have been permitted intervention in this

  matter—various outlets of the national news media—have thoughtfully and professionally

  litigated their position. This Court can therefore conclude with certainty that the interests of the

  pro se Movant are adequately represented. There is no evidence of collusion between the media

  outlets in this case and the Government, there is no adverse interest between the media outlets and

  the pro se Movant, and the media outlets have not failed in the fulfillment of their duty. The media

  outlets seek the same relief that the pro se Movant does, and they have adequately litigated on

  behalf of their shared relief with the Movant.

          For all of the foregoing reasons, it is hereby ORDERED AND ADJUDGED that the pro

  se Movant’s objection [DE 70] is OVERRULED.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 19th day of August,

  2022.



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                                                       ROBIN L. ROSENBERG
  Copies furnished to Counsel of Record                UNITED STATES DISTRICT JUDGE




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